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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

GREGORY BENNETT, an individual,)
                               )
                               )
           Plaintiff,          ) Case No.:
                               )
           v.                  ) COMPLAINT
                               )
                               )
I.Q. DATA INTERNATIONAL INC, a ) JURY TRIAL DEMANDED
Washington Corporation,        )
                               )
                               )
           Defendant.          )

                                  COMPLAINT

      COMES NOW Gregory Bennett, Plaintiff, and states the following

Complaint against Defendant I.Q. DATA INTERNATIONAL INC for violations

of the Fair Debt Collection Practices Act (FDCPA), 15 U.S.C. §§ 1692 et seq. and

for violations of Georgia’s Fair Business Practices Act (FBPA), O.C.G.A. §§ 10-1-

390 et seq.

                         JURISDICTION AND VENUE

1.    This action arises out of Defendants’ illegal and improper efforts to collect a

      consumer debt, and includes violations of the Fair Debt Collection Practices

      Act (FDCPA), 15 U.S.C. §§ 1692 et seq. (the “FDCPA”), as well as

      Georgia’s Fair Business Practices Act, O.C.G.A. §§ 10-1-390 et seq.



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     (“FBPA”); and Plaintiff’s claims under these statutes are so related that they

     form the same case or controversy.

2.   Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331 (Federal

     Question), 15 U.S.C. § 1692k, 15 U.S.C. §§ 1681 et seq., and 28 U.S.C. §§

     1331 & 1337, as well as 28 U.S.C. § 1367 (Supplemental Jurisdiction).

3.   This Court has personal jurisdiction over the Defendant for the purposes of

     this action because Defendant regularly attempts to collect debts from

     residents of Georgia in the State of Georgia, Defendant has a registered

     agent located in the State of Georgia, Plaintiff is a resident of the State of

     Georgia, and the committed acts that form the basis for this suit occurred

     within the State of Georgia and this District.

4.   Venue is proper in the Northern District of Georgia pursuant to 28 U.S.C. §

     1391 because Defendant has a registered agent located within this District,

     and Plaintiff is a resident of this District.



                                      PARTIES

5.   GREGORY BENNETT, is a resident of Georgia, and is a consumer under

     15 U.S.C. § 1692a(3).




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6.    I.Q. DATA INTERNATIONAL INC (“IQ DATA”) is a Washington

      Corporation that regularly transacts business within the State of Georgia,

      regularly targets Georgia residents for the collection of debts, and has a

      registered agent in Georgia named Corporation Service Company located in

      Gwinnett County at 2 SUN COURT, SUITE 400, PEACHTREE

      CORNERS, GA, 30092.



                           FACTUAL ALLEGATIONS

7.    GREGORY BENNETT is a natural person, and is not a corporation, limited

      liability company, or other legal entity.

8.    I.Q. DATA INTERNATIONAL INC’s website states that it “has been

      serving the collection needs of businesses and consumers since 1998.”1

9.    Defendant IQ DATA is registered as a consumer collection agency with the

      Florida Office of Financial Regulation, with the License Number

      CCA0900898.

10.   Defendant IQ DATA is registered as a debt collector with the Minnesota

      Department of Revenue, with the License Number 40039353.



1
  IQData inc. – About Us, IQData inc., available at (https://www.iqdata-
inc.com/about-us) (last accessed January 25, 2023).

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11.   Upon information and belief, Defendant IQ DATA regularly collects or

      attempts to collect debts owed or due to others.

12.   The principal purpose of Defendant IQ DATA’s business is the collection of

      any debts.

13.   Upon information and belief, Defendant IQ DATA uses the instrumentalities

      of interstate commerce or the mails in its efforts to collect debts.

14.   Plaintiff lived in The Enclave Apartments in Maryland.

15.   Plaintiff sued The Enclave Apartments in Maryland in a case named

      Gregory Bennett, et al, v. Donaldson Group LLC, et al, Case No. 4593907-

      V, Montgomery County Circuit Court, Maryland.

16.   Plaintiff was represented by legal counsel in this lawsuit and dispute over his

      apartment lease and any account owing on said lease.

17.   Plaintiff’s lawsuit, and legal representation, was, and still is, public record.

18.   Plaintiff’s lawsuit went to a jury trial, and Plaintiff was awarded a Final

      Judgment against The Enclave Apartments in the amount of $2,000.00 on

      November 3, 2021.

19.   This final judgment was, and still is, public record.

20.   Defendant IQ DATA directly contacted Plaintiff in a letter dated January 28,

      2022, seeking to collect $5,081.09 from Mr. Bennett that IQ DATA claimed


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      he owed The Enclave Apartments for a residential apartment lease—an

      alleged consumer debt.

21.   Upon information and belief, Defendant IQ DATA knew Mr. Bennett was

      represented by legal counsel at the time, but contacted him nonetheless.

22.   Upon information and belief, Defendant IQ DATA performed a background

      check on Mr. Bennett to obtain the address he was contacted at, which was

      not previously provided to The Enclave Apartments by Mr. Bennett.

23.   Upon information and belief, Defendant IQ DATA had access to, and had

      actual knowledge, as a result of this background search that Mr. Bennett was

      involved in litigation against The Enclave Apartments, and was represented

      by legal counsel.

24.   Upon information and belief, Defendant IQ DATA had access to, and had

      actual knowledge, as a result of this background search that Mr. Bennett was

      involved in litigation against The Enclave Apartments, and had obtained a

      judgment against The Enclave Apartments.

25.   The amount sought by Defendant IQ DATA in this collection letter was not

      correct.




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26.   The amount sought by Defendant IQ DATA in this collection did not

      account for the judgment obtained by Mr. Bennett against The Enclave

      Apartments.

27.   The amount sought by Defendant IQ DATA in this collection letter

      improperly applied interest on the alleged debt.

28.   Upon information and belief, Plaintiff does not owe The Enclave

      Apartments the alleged debt.

29.   Defendant’s actions caused Mr. Bennett to suffer stress, anxiety, frustration,

      and worry because he already had legal counsel handling his dispute with

      The Enclave Apartments, and he understood it was The Enclave Apartments

      who owed him money, and that he did not owe them any money.

30.   Defendant’s actions caused Mr. Bennett to suffer emotional distress he

      would not have suffered but for Defendant’s actions.

31.   Mr. Bennett also incurred additional legal fees and costs to investigate

      Defendant’s claims in an amount not less than $420 that he would not have

      incurred but for Defendant’s actions.

32.   Plaintiff’s counsel sent Defendant IQ DATA a pre-suit, ante-litem demand

      letter pursuant to Georgia’s FBPA, O.C.G.A. § 10-1-399, on April 14, 2022.




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33.   It has been more than 30 days since Defendant IQ DATA received the ante-

      litem demand.

34.   The ante-litem demand letter sent by Plaintiff’s counsel to Defendant IQ

      DATA included information regarding the judgment Mr. Bennett had

      against The Enclave Apartments, putting Defendant IQ DATA on notice that

      Mr. Bennett had a judgment against The Enclave Apartments.

35.   Defendant IQ DATA nevertheless sent a second collection letter in response

      to this ante-litem demand that claimed Mr. Bennett owed The Enclave

      Apartments $5,141.01 dated April 19, 2022.

36.   The amount of this alleged debt in the second collection letter is incorrect.

37.   This second collection letter directed Mr. Bennett to remit this balance in

      full, once again demanding Mr. Bennett pay an incorrect amount to The

      Enclave Apartments through Defendant IQ DATA.

38.   Upon information and belief, Defendant IQ DATA is in competition with

      other debt collection companies, including those that focus on collecting

      rental debts from consumers.

39.   The actions of Defendant IQ DATA in directly contacting a consumer it

      knew was represented by counsel and in seeking to collect incorrect debt




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      amounts, from Georgia consumers, such as Mr. Bennett, impact the

      consumer marketplace for rents and rental debt recovery.

40.   Defendant IQ DATA is subject to the provisions of Georgia’s Fair Business

      Practices Act, O.C.G.A. §§ 10-1-390 et seq.

41.   Georgia’s Fair Business Practices Act is intended to “protect consumers and

      legitimate business enterprises from unfair or deceptive practices in the

      conduct of any trade or commerce in part or wholly in the state” and is

      intended to be “liberally construed and applied to promote its underlying

      purposes and policies.” O.C.G.A. § 10-1-391(a).

42.   Georgia’s Fair Business Practices Act imposes a duty on all businesses and

      individuals to refrain from engaging in “[u]nfair or deceptive acts or

      practices in the conduct of consumer transactions and consumer acts or

      practices in trade or commerce.” O.C.G.A. § 10-1-393(a).

43.   Plaintiff’s injuries caused by Defendant’s violations of the FDCPA are

      particular and concrete in that they are legally cognizable injuries through

      the FDCPA, they have invaded Plaintiff’s legal rights, intruded upon his

      privacy, invaded his right to be free from attempts to collect debts he does

      not owe, invaded his right to be given accurate information about how much

      of a debt he does owe, invaded his right to be treated fairly and with


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      conscious regard, and have resulted in Plaintiff suffering stress and anxiety,

      emotional distress, as well as valuable lost time and resources.

44.   Plaintiff has incurred actual damages—both specific in legal fees and costs

      incurred, and general in the form of emotional distress—as a direct result of

      Defendant’s actions in violation of the FDCPA and Georgia’s FBPA that he

      would not have suffered but for Defendant’s FDCPA and FBPA violations.



                              CAUSES OF ACTION

                                     Count 1
               Violations of the Fair Debt Collection Practices Act

45.   Defendant’s direct communication with Plaintiff, a consumer it knew was

      represented by legal counsel, violates of the Fair Debt Collection Practices

      Act, 15 U.S.C. §§ 1692 et seq.

46.   Defendant’s efforts to collect an incorrect amount from Mr. Bennett violates

      of the Fair Debt Collection Practices Act, 15 U.S.C. §§ 1692 et seq.

47.   Defendant’s efforts to collect a debt from Mr. Bennett that he does not owe

      violates of the Fair Debt Collection Practices Act, 15 U.S.C. §§ 1692 et seq.

48.   Defendants’ efforts to collect an amount from Plaintiff not permitted by law

      or by contract violates the Fair Debt Collection Practices Act, 15 U.S.C. §§

      1692 et seq.

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49.   As a direct result Defendant’s actions in violation of the FDCPA, Plaintiff

      suffered stress, anxiety, and emotional distress—otherwise known as

      garden-variety emotional distress—and suffered lost resources and valuable

      time in dealing with these collection efforts.

50.   As a direct result Defendant’s actions in violation of the FDCPA, Plaintiff

      incurred legal costs and fees he would not have incurred but for Defendants’

      actions in violation of the FDCPA in an amount not less than $420.00.

51.   Further, Defendant’s violations of the FDCPA, 15 U.S.C. §§ 1692 et seq.,

      make them liable to Plaintiff for not just the actual damages identified

      above, but also for statutory damages of up to the maximum of $1,000 for

      each Defendant, plus reasonable court costs and attorneys’ fees in

      accordance with the FDCPA, 15 U.S.C. § 1692k(a)(2)-(3).



                                   Count 2
       Violations by Defendants of Georgia’s Fair Business Practices Act


52.   Defendant IQ DATA’s efforts to collect an incorrect amount of debt,

      attempting to collect a debt Mr. Bennett does not owe, and directly

      contacting him to collect that alleged debt despite knowing he was




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      represented by counsel as to that debt, are unfair or deceptive acts or

      practices in the conduct of consumer transactions.

53.   Plaintiff relied on Defendant IQ DATA’s representations as to the alleged

      debt, and its alleged amount, when he retained additional legal counsel to

      investigate IQ DATA’s claims, incurring legal fees and costs to do so, and in

      experiencing the stress, anxiety, and frustration of Defendant IQ DATA

      contacting him directly to attempt to collect the incorrect, alleged debt.

54.   As a result of Defendant IQ DATA’s unfair and deceptive acts or practices

      in the conduct of consumer transactions, Plaintiff suffered stress, anxiety,

      and emotional distress—otherwise known as garden-variety emotional

      distress—plus legal fees and costs to defend the legal claims, in amount to

      be shown with more particularity at a later date, but not less than $420.00.

55.   Defendant IQ DATA competes within its respective consumer marketplaces

      with other companies who seek to engage in consumer transactions with

      Georgia residents, who attempt to collect consumer debts from Georgia

      residents, and IQ DATA’s actions in disregard to Georgia’s FBPA,

      O.C.G.A. §§ 10-1-390 et seq., impact the consumer marketplace by creating

      an unfair competitive disadvantage for those companies who do comply with

      Georgia’s FBPA, O.C.G.A. §§ 10-1-390 et seq.


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56.   Upon information and belief, Defendant IQ DATA has practiced the same

      disregard for consumer rights visited upon Plaintiff by its acts complained of

      in this case with other consumers, and the consumer transactions that

      compose Plaintiff’s claims are therefore not private transactions, but instead

      impact the entirety of the consumer marketplace.

57.   Defendant IQ DATA’s unfair or deceptive acts or practices in the conduct of

      consumer transactions violate Georgia’s Fair Business Practices Act,

      O.C.G.A. § 10-1-390 et seq. (the “FBPA”).

58.   Plaintiff served a pre-suit notice required by Georgia’s FBPA pursuant to

      O.C.G.A. § 10-1-399 on IQ DATA, on or about April 14, 2022, which was

      more than thirty (30) days from the filing of this Complaint.

59.   Defendant IQ DATA’s violations of the FBPA makes it liable to Plaintiff for

      the actual damages detailed above to be shown with more particularity at a

      later date. O.C.G.A. § 10-1-399(a).

60.   Defendant IQ DATA’s violations of the FBPA makes it liable to Plaintiff for

      “reasonable attorneys’ fees and expenses of litigation incurred,”

      “irrespective of the amount in controversy.” O.C.G.A. § 10-1-399(d).

61.   Defendant IQ DATA’s intentional acts in violation of Georgia’s FBPA also

      make it liable to Plaintiff for treble damages. O.C.G.A. § 10-1-399(c).


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62.   Plaintiff further seeks to enjoin Defendant IQ DATA from continuing to

      contact him regarding this or any alleged debt pursuant to O.C.G.A. § 10-1-

      399(a).


                                     Count 3
            Punitive Damages Against Defendants Under Georgia’s FBPA


63.   Plaintiff has a statutorily created right to “exemplary damages,” sometimes

      also called punitive damages, pursuant to O.C.G.A. § 10-1-399(a) for

      intentional violations of Georgia’s Fair Business Practices Act, O.C.G.A. §

      10-1-390 et seq.

64.   Defendant IQ DATA’s intentional acts in violation of Georgia’s FBPA also

      make it liable for “exemplary damages,” sometimes also called punitive

      damages, pursuant to O.C.G.A. § 10-1-399(a), in an amount to be

      determined by the enlightened conscious of a jury.



                                 JURY DEMAND

65.   Plaintiff demands a trial by jury.

      WHEREFORE, Plaintiff prays that this Court:

      (1)     Find Defendant liable for violations of the Fair Debt Collection
              Practices Act for the reasons stated in the Complaint above;


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(2)   Award Plaintiff the full $1,000 statutory damages for Defendant’s
      FDCPA violations;

(3)   Award Plaintiff actual damages against Defendant in an amount to be
      shown with more particularity at a later date for Defendant’s FDCPA
      violations;

(4)   Find Defendant liable for actual damages in an amount to be shown
      with more particularity at a later date for its violations of Georgia’s Fair
      Business Practices Act, O.C.G.A. § 10-1-390 et seq.;

(5)   Find Defendant liable for treble damages for its intentional violations of
      Georgia’s Fair Business Practices Act, O.C.G.A. § 10-1-399(c);

(6)   Award Plaintiff equitable relief in the form of an injunction against
      Defendant contacting Plaintiff or seeking to collect the Alleged Debt, or
      any other debt, from Plaintiff in the future pursuant to Georgia’s Fair
      Business Practices Act, O.C.G.A. § 10-1-399(a).

(7)   Find Defendant liable for punitive damages for its intentional violations
      of Georgia’s Fair Business Practices Act, O.C.G.A. § 10-1-399(a);

(8)   Award Plaintiff reasonable attorney’s fees and costs against Defendants
      in accordance with the FDCPA, 15 U.S.C. § 1692k(a)(2)-(3);

(9)   Award Plaintiff reasonable attorney’s fees and costs in accordance with
      the Georgia’s FBPA, O.C.G.A. § 10-1-399(d), for Defendant’s
      violations of Georgia’s Fair Business Practices Act;

(10) Award Plaintiff the reasonable costs of this action;

(11) Award Plaintiff other reasonable expenses of litigation;

(12) Grant Plaintiff such other and additional relief as the Court deems just
     and equitable.

       [SIGNATURE AND DATE ON FOLLOWING PAGE.]


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Respectfully submitted this 26 January 2023.

                                  /s/ John William Nelson
                                  John William Nelson
                                  Georgia Bar No. 920108
                                  john@nelsonchambers.com
                                  Attorney for Plaintiff

                                  The Nelson Law Chambers LLC
                                  2180 Satellite Blvd, Suite 400
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                     CERTIFICATE OF COMPLIANCE

      Pursuant to Local R. 7.1(D), this is to certify that the foregoing complies

with the font and point setting approved by the Court in Local R. 5.1(B). The

foregoing COMPLAINT was prepared on a computer, using Times New Roman

14-point font.

      DATED:      26 January 2023

                                     /s/ John William Nelson
                                     John William Nelson
                                     State Bar No. 920108

                                     Attorney for Plaintiff

                                     The Nelson Law Chambers LLC
                                     2180 Satellite Blvd, Suite 400
                                     Duluth, Georgia 30097
                                     Ph. 404.348.4462
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                       VERIFICATION OF COMPLAINT

       Pursuant to 28 U.S.C. § 1746, Plaintiff GREGORY BENNETT, having first

been duly sworn and upon oath, verifies, certifies, and declares as follows:

1. I am a Plaintiff in this civil proceeding.

2. I have read the above-entitled civil Complaint prepared by my attorneys and I

believe that all of the facts contained in it are true, to the best of my knowledge,

information and belief formed after reasonable inquiry.

3. I believe that this civil Complaint is well grounded in fact and warranted by

existing law or by a good faith argument for the extension, modification, or

reversal of existing law.

4. I believe that this civil Complaint is not interposed for any improper purpose,

such as to harass any Defendant(s), cause unnecessary delay to any Defendant(s),

or create a needless increase in the cost of litigation to any Defendant(s), named in

the Complaint.

5. I have filed this civil Complaint in good faith and solely for the purposes set

forth in it.

       I declare under penalty of perjury that the foregoing is true and correct.
                      01 / 25 / 2023
Executed on         __________________________________________

                    __________________________________________
                                   Signature

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